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                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF CALIFORNIA

                                  MEMORANDUM


Honorable John A. Mendez
United States District Judge
Sacramento, California

                                          RE:    Luang Finh SAECHAO
                                                 Docket Number: 2:02CR00360-03
                                                 RELEASE OF PASSPORT

Your Honor:

On November 18, 2004, the Honorable David F. Levi sentenced the above noted offender
following his plea of guilty to a violation of 21 USC 843(b) - Use of Communication Facility
to Facilitate a Drug Offense. He was sentenced to the custody of the Bureau of Prisons
for a term of 48 months, to be followed by a 12 month term of supervised release. Special
conditions of supervised release included: Search and seizure; Financial disclosure; No
new credit charges or additional lines of credit; Participate in a drug or alcohol program;
Participate in drug or alcohol testing; Aftercare co-payment; and Register as a drug
offender.     Mr. Saechao began his supervised release on November 5, 2007, and
completed his one year term of supervised release, without incident, on November 4, 2008.

Mr. Saechao was under the supervision of the United States Pretrial Services from
September 5, 2002, to a self-surrender date of January 7, 2005. As a condition of pretrial
release, Mr. Saechao was ordered to forfeit his passport to the clerk's office. Mr. Saechao
is requesting his passport be returned but the United States District Court Clerk's Office
will not return the passport without authorization from the sentencing judge.

Therefore, we are recommending that Your Honor agree to have the United States District
Court Clerk's Office release Mr. Saechao's passport to him.




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RE:      Luang Finh SAECHAO
         Docket Number: 2:02CR00360-03
         RELEASE OF PASSPORT



                               Respectfully submitted,


                                 /s/Glenn P. Simon
                                 GLENN P. SIMON
                           United States Probation Officer

Dated:        January 21, 2009
              Sacramento, California
              GPS/cp


REVIEWED BY:        /s/Kyriacos M. Simonidis
                    KYRIACOS M. SIMONIDIS
                    Supervising United States Probation Officer




________________________________________________________________



AGREE: ____X______                           DISAGREE: ___________


/s/ John A. Mendez                                                01/22/2009
JOHN A. MENDEZ                                                    DATE
United States District Judge




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